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                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                                 FOR THE COUNTY OF KING


Great American E&S Insurance Company,                      No. 23-2-16817-8 SEA
Individually
                                                           CASE INFORMATION COVER SHEET AND
VS                                                         AREA DESIGNATION

Houston Casualty Company, Gordon Rees
Scully Mansukhani, LLP                                     (CICS)


                                                CAUSE OF ACTION

                                             MAL - Other Malpractice


                                            AREA OF DESIGNATION

SEA                    Defined as all King County north of Interstate 90 and including all of
                       Interstate 90 right of way, all of the cities of Seattle, Mercer Island, Issaquah,
                       and North Bend, and all of Vashon and Maury Islands.




Case Information Cover Sheet and Area Designation (CICS)                                           Page 1
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                                                                        EXHIBIT B TO DECL. OF CAPLOW
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